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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA |

_- UNITED STATES OF AMERICA 3:23-CR-127
v. (SAPORITO, C.M.J.)::

THOMAS TROTTA,

Defendant.

written report of the Warden of Lackawanna County Prison (Doc. 68), :
IT IS HEREBY ORDERED THAT:
1.. The temporary stay imposed by our Order of May 31, 2024
(Doc. 62) shall remain in effect.
2. Counsel for defendant shall place of record an update as to |
defendant’s condition by NOON ON FRIDAY JUNE 28, 2024.

8. A copy of this Order shall be provided to the United States

Marshal.

Tsay Fe Aegon EF -
JOSEPH F. SAPORITO, JR.
Chief United States Magistrate Judge

